                           Case 14-50331-gs             Doc 92        Entered 12/10/14 14:34:55           Page 1 of 2



                     1   ALAN R. SMITH, ESQ., #1449
                         HOLLY E. ESTES, ESQ. #11797                                               Electronically Filed
                     2   Law Offices of Alan R. Smith                                              December 10, 2014
                         505 Ridge Street
                     3   Reno, Nevada 89501
                         Telephone: (775) 786-4579
                     4   Facsimile: (775) 786-3066
                         email: mail@asmithlaw.com
                     5
                         Former Counsel For Debtors
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                     8
                                                       UNITED STATES BANKRUPTCY COURT
                     9
                                                                    DISTRICT OF NEVADA
                 10
                                                                              —ooOoo—
                 11
                         In re:                                                              Case No. BK-N-14-50333-BTB
                 12                                                                          Chapter 11
                         ANTHONY THOMAS and WENDI
                 13      THOMAS,
                 14            Debtors.                                                      Case No. BK-N-14-50331-BTB
                         _______________________________/                                    Chapter 11
                 15
                         In re:                                                              [Jointly Administered]
                 16
                         AT EMERALD, LLC,                                                    DECLARATION OF ALAN R.
                 17                                                                          SMITH IN SUPPORT OF REPLY TO
                                  Debtor.                                                    OBJECTION TO APPLICATION
                 18                                                                          FOR COMPENSATION OF
                                                                                             ATTORNEY FOR DEBTORS (ALAN
                 19                                                                          R. SMITH) AND JOINDER
                 20                                                                          Hearing Date:       December 17, 2014
                                                                                             Hearing Time:       10:00 a.m.
                 21      ________________________________/
                 22               I, ALAN R. SMITH, hereby declare under penalty of perjury that the following
                 23      assertions are true:
                 24               1.        I was the court appointed general counsel for the Debtors in the above-
                 25      captioned Chapter 11 cases. I have personal knowledge of the facts herein stated, and if
                 26      called to testify as to such facts I would and could do so competently.
                 27               2.        Upon meeting with the Debtors and after hearing their financial
                 28      circumstances, assets and liabilities, I determined, based upon my experience and the
  Law Offices of
 ALAN R. SMITH
 505 Ridge Street
Reno, Nevada 89501
 (775) 786-4579          H:\Thomas\Fees\Decl ARS Rply (omnibus) Opp Fee App ARS 121014.wpd
                           Case 14-50331-gs             Doc 92        Entered 12/10/14 14:34:55      Page 2 of 2



                     1   Debtors’ circumstances that it was appropriate to file chapter 11 petitions for bankruptcy
                     2   protection.
                     3            3.        In my initial meetings with the Debtors I was informed that Anthony
                     4   Thomas had a broker working with several interested purchasers, and Anthony Thomas
                     5   projected that the Thomas Emerald could be sold in a matter of weeks.
                     6            4.        My firm and I undertook all work to ensure that the chapter 11 cases were
                     7   being properly administered. Further, my firm and I acted in the best interest of creditors
                     8   and the estate by preserving the Thomas Emerald to be sold for the benefit of all
                     9   creditors.
                 10               5.        At all times during the course of my representation of the Debtors I
                 11      understood that the Thomas Emerald was an extremely valuable asset of the Debtors. If
                 12      sold, the proceeds from the sale of the Thomas Emerald would have been more than
                 13      sufficient to pay all creditors in both cases in full.
                 14               6.        Pursuant to the Motion To Withdraw As Attorney Of Record, the Debtors
                 15      failed substantially to fulfill various obligations to me as specified in our engagement
                 16      agreement. Specifically, Debtors failed to communicate timely and effectively with my
                 17      office. Further, the Debtors and myself came to an impasse regarding certain aspects of
                 18      my representation that I believed could not be overcome. Because of the difference in
                 19      opinion as how best to proceed in these cases, I could no longer effectively represent the
                 20      Debtors. As a result an adversarial relationship developed, and I sought withdrawal. My
                 21      motion to withdrawal was heard on the same date and time as the motion to appoint
                 22      chapter 11 trustee, August 22, 2014 at 2:00 p.m.
                 23               7.        All assets of the Debtors were maintained for the benefit of creditors in
                 24      these cases.
                 25               DATED this 10th day of December, 2014.
                 26
                                                                                  By:    /s/ Alan R. Smith
                 27                                                                 ALAN R. SMITH, ESQ.
                                                                                    Former Counsel For Debtors
                 28
  Law Offices of
 ALAN R. SMITH
 505 Ridge Street
Reno, Nevada 89501
 (775) 786-4579                                                                     -2-
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